 

, Case 3:18-cv-01063-AJB-AGS Document 145 Filed 07/27/21 PagelD.2582 Page 1of|3

 

FILED

JUL 27 2021

 
  
  

 

Anton Ewing (Not an Attorney)
3077 B Clairemont Drive #372
San Diego, CA 92117

(619) 719-9640
anton@antonewing.com

 

 

 

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

BY DEPUTY

    
 

 

 
 

Plaintiff in Pro Per

 

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THE UNITED STATES FEDERAL DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

Anton Ewing, an individual, Case No. 3:18-CV-01063-AJB-AGS
Plaintiff, NOTICE OF DISMISSAL BY
PLAINTIFF WITHOUT
Vs. PREJUDICE
Date: NA

8 Figure Dream Lifestyle, LLC a Time: NA

Wyoming Limited Liability Company;

Fast Advance Funding, LLC a
Pennsylvania Limited Liability
Company;

et al.

Defendants.

 

 

 

TO THE CLERK OF THE COURT:
This is not a motion to a Judge. Pursuant to FRCP 41(a)(1)(A)(i) and based

on the very recent US Supreme Court holding in Facebook Inc vs. Duguid et al,

2021 U.S. Lexis 1742, decided on April 1, 2021, regarding the definition of an

NOTICE OF DISMISSAL BY PLAINTIFF WITHOUT PREJUDICE - 1

 

18CV1063

 
 

 

 

 

Chise 3:18-cv-01063-AJB-AGS Document 145 Filed 07/27/21 PagelD.2583 Page 2 of B
ATDS, Plaintiff Anton Ewing hereby dismisses Defendant’s 8 Figure Dream; R.
2 || Scott International; Anthony Gibson; First Premier Funding; Anthony J. Gaglio;
3 || Fig Capital and Michael Scarpaci, without prejudice. Plaintiff hopes Congress will
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take notice of the Supreme Court’s ruling and change the law to comport with
5
| -current telemarketing technology now 20 years later_Plaintiff further thanks the
7 || Court for its time, effort and consideration. Plaintiff in no way and in no matter
® || admits nor concedes that telemarketers are allowed to call him without express
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written consent.
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ll Additionally, the docket reflects that this case has gone to “default
12 || judgment” but upon further investigation, that is not the case. See ECF No. 138.
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4 Dated: July 26, 2021
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NOTICE OF DISMISSAL BY PLAINTIFF WITHOUT PREJUDICE - 2

 

 

 
 

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; PROOF OF SERVICE
2 |{I, Anton Ewing, am over 18, a pro per plaintiff in this matter and an authorized
CM/ECF user by court order in other matters. I have filed this notice of dismissal
> iland had it served on Defendants as follows:
4
18-CV-01063-AJB-AGS Notice has been electronically mailed to:
5
I have also emailed a copy of this document to Defendant directly at the email
° || address he uses to communicate with me at:
7
8 jfand by US Mail, postage pre-paid, first class to:
9 || Kimberly A. Wright
Revolve Law Group, LLP
10 |) 2601 Main Street
7 Suite 1200
Irvine, CA 92614
12 || 833-775-4557
Email: Kimberly@revolvelawgroup.com
13
Bryan D. Trader
14 || Reed Smith LLP
355 South Grand Avenue
15 |] Suite 2800
Los Angeles, CA 90071-1514
16 || 213-457-8000
"7 David J Kaminski
1g || Carlson and Messer
5901 West Century Boulevard
19 || Suite 1200
Los Angeles, CA 90045
20
21 || As well as all other CM/ECF users registered in this matter.
2 1/7 swear under penalty of perjury that the above was served as stated.
93 || Dated: July 26, 2021
[sto
24 on Ewing
25
NOTICE OF DISMISSAL BY PLAINTIFF WITHOUT PREJUDICE - 3
18CV 1063

 

 

 

 
